11            Case 6:21-cv-00474-AA         Document 50-10    Filed 08/06/21     Page 1 of 8




                                       OFFICE OF THE PRESIDENT


                                                              January 30. 1996



     VIA CERTIFIED MAIL - RETURN RECEIPT REQUESTED

     Honorable Norma V. Cantu'
     Assistant Secretary for Civil Rights
     U.S. Department of Education
     330 C Street NW
     Room 5000
     Washington, D.C. 20202

     RE: Lee College, Cleveland, Tennessee

     Dear Ms. Cantu':

     This letter is an official request for the exemption of Lee College, Cleveland,
     Tennessee from the requirements of 20 USC 1681 as allowed under Section (a) (3).

     Lee College is a private, four-year liberal arts college, affiliated with the Church of God,
     Cleveland, Tennessee. Lee College has approximately 2,500 undergraduate students
     and has begun a graduate program in the field of music. Other graduate programs are
     being investigated and it is anticipated that other graduate programs will be
     implemented in the near future.

     From the time it was founded in 1918, Lee College has been directly associated with
     the Church of God, Cleveland, Tennessee. A significant portion of its students are in
     training to become ministers in the Church of God and other denominations. The
     Church of God selects the college's Board of Directors.

     The Church of God is a Protestant evangelical denomination whose basic tenets come
     directly from the Holy Bible, as interpreted generally by the Church of God. Included in
     these basic tenets are fundamental religious beliefs concerning morality and proper
     living. They encompass abstention from certain forms of immorality, including but not
     limited to pre-marital sex, adultery, homosexuality, and other practices which may fall
     within such definitions. Beyond teachings and doctrinal commitments propounded by
     the Church of God, the Church of God also encourages its members to follow certain
     practical commitments of spiritual disciplines, church commitment, stewardship, and
     moral purity.


                        CLEVELAND.TENN.37311                    (61 5) 472·21   1 1
       EXHIBIT K                                                                                    1
         Case 6:21-cv-00474-AA       Document 50-10      Filed 08/06/21    Page 2 of 8



January 30, 1996
Page 2



Within the broad concept of "moral purity", the Church of God and Lee College adhere
to certain beliefs regarding conduct which may be acceptable to some members of
society, but which are not so accepted by the Church of God or Lee College. A firm
definition of "immorality'' may be impossible, in light of changes in society and its
patterns and habits. Therefore, while a strict definition of "immorality" or "moral purity"
may not be easy to obtain, certain practices such as sexual involvement either before
marriage or with someone other than the marriage partner after the marriage is strictly
forbidden by the Church of God, as it interprets scripture. Also included in this
definition would be a prohibition against adultery or homosexual behavior.

In light of the above and because of its close ties to the Church of God and in
particular, its belief in the right of an institution connected with a religious body to
adhere to any and all biblical tenets as interpreted by it and the Church of God, Lee
College hereby requests official exemption from the above statutory provisions, and
other rights to which it is entitled under applicable law to the extent these practices
would be considered discriminatory.

If you require further information or assistance, please do not hesitate to contact me.

                                                         Cordially,




                                                         Charles Paul Conn, President
                                                         Lee College
                                                         Cleveland, Tennessee




  EXHIBIT K                                                                                   2
      Case 6:21-cv-00474-AA          Document 50-10         Filed 08/06/21     Page 3 of 8

JgE(9LLEGE                                              COPY
                                                                                       Officeof the President




                                                                      March 5, 1996



Honorable Norma V. Cantu'
Assistant Secretary for Civil Rights
U.S. Department of Education
330 C. Street NW - Room 5000
Washington, D.C. 20202

SUBJECT: Lee College, Cleveland,Tennessee

Dear Miss Cantu':

This letter is to serve as an amended official request for exemption of Lee College,
Cleveland, Tennessee, under the provisions of 20 USC 1681 (a) (3).

Lee College is a private, four-year liberal arts college, affiliated with the Church of God,
Cleveland, Tennessee. Lee College has approximately 2,500 students and also has
begun a graduate program in the field of music. Other graduate programs are being
investigated and planned.

From its original organization in 1918, Lee College has been directly associated with
the Church of God, Cleveland, Tennessee. A significant portion of its students are in
training as ministers in the Church of God and other denominations. The Church of
God selects the college's Board of Directors.

The Church of God is a Protestant evangelical denomination basing its basic tenets
directly from the Holy Bible, as interpreted generally by the Church of God. Included in
these basic tenets are fundamental religious beliefs concerning morality and proper
living. These basic tenets encompass such things as abstention from certain forms of
immorality, including but not limited to pre-marital sex, adultery, homosexuality, and
other practices which mayfall within such definitions. Beyond teachings and doctrinal
commitments propounded by the Church of God, the Church of God also encourages
its members to follow certain practical commitments of spiritual disciplines, church
commitment, stewardship, and moral purity.




                    Clm/1,nd,Tennessee
                                     37320·3450 •   (423)478·7027 fax (4:23)478-7041
EXHIBIT K                                                                                       3
      Case 6:21-cv-00474-AA       Document 50-10      Filed 08/06/21    Page 4 of 8



Honorable Norma V. Cantu'
March 5, 1995
Page Two



The college adheres to biblical tenets as its standard of faith and practice. The tenets
require the college to act in ways which may conflict with specific Section IX
regulations. The faculty, employees, and students of the college are expected to
conduct themselves in a manner consistent with the tenets of the Christian faith. The
college requires, for instance, Christian sexual conduct on the part of its employees
and student body. The college's religious tenets for instance, would not permit the
college to treat pregnancy, childbirth, or termination of pregnancy of an unmarried
woman as a temporary disability. The college expects its personnel to be Christian role
models and an employee or student living with a member of the opposite sex out of
wedlock would be considered morally delinquen~. The college has religious tenets
regarding human sexuality, proper living environments, respect for the institution of
marriage, language, and modest attire. Scholarship funds, and career offerings related
to ministerial training students may be provided differently on the basis of sex. The
college also offers sex-separate organizations to students. The college deems it
necessary to minister in unique ways to men as compared to women in preparing
students to fulfill their roles as mothers and fathers in the context of religious beliefs in
the sanctity of the home.

 Therefore, this college requests an exemption from 34C.F.R. section 106.21© (Marital
 or parental status of applicants for admission); 106.40 (Marital or parental status of
 students); 106.51 (b)(6) (Granting leaves of absence for employees for pregnancy,
 childbirth, false pregnancy, termination of pregnancy, child care); 106.57 (Marital or
 parental status of employees); and 106.60(a) (Preemployment inquiries as to marital
 status).

 Further, this institution requests an exemption to 106.31 for membership practices in
 student organizations which are required by religious tenets to be limited on the basis
 of sex. We request exemption to 106.36 regarding counseling and use of appraisal
 and counseling materials to the extent the college's religious tenets will require
 differentiating counseling between sexes. We request an exemption for 106. 39
 (Student health and insurance benefits and services).

 For those employment positions which are restricted on the basis of sex in accordance
 with the college's religious tenets we request an exemption to 105.1 (Employment};
 106.52 (Employment criteria); 106.53 (Recruitment of employees); 106.55 (Job
 classification and structure); and 106.59 (Advertising).




EXHIBIT K                                                                                 4
      Case 6:21-cv-00474-AA      Document 50-10     Filed 08/06/21    Page 5 of 8



 Honorable Norma V. Cantu'
 March 5, 1996
 Page Three



 To the extent that counseling, scholarship funds and career funding related to
 ministerial training students are provided differently on the basis of sex and the
 requirement that certain sex-separate ciubs and organizations exist, the college
 requests an exemption from 106.31 (Education programs and activities); 106.34
 (Access to course offerings); 106.36 (Counseling and use of appraisal in counseling
 materials); 106.37 (Financial assistance); 106.38 (Employment assistance to students);
 and 106.14 regarding membership practices of certain organizations.

 If you require further information or assistance, please do not hesitate to contact me.

                                                        Cordially,



                                                        Charles Paul Conn, President
                                                        Lee College
                                                        Cleveland, Tennessee

 CPC:scg




EXHIBIT K                                                                              5
        Case 6:21-cv-00474-AA                      Document 50-10                 Filed 08/06/21              Page 6 of 8



                             UNITED STATES DEPARTMENT OF EDUCATION
                                                  WASHINGTON. D.C. 20202- __             _




 Dr. Charles Paul Conn
 President
 Lee College
 P.O. Box 2430
                                                                                                                FILE
                                                                                                                   COPl
 Cleveland, Tennessee 37320-2430

 Dear Dr. Conn:

 The Office for Civil Rights (OCR) of the U.S. Department of Education received
 your request (copy enclosed), dated January 30, 1996, for religious exemption for
 Lee College (College) from Title IX of the Education Amendments of 1972, and its
 implementing regulation, at 34 C.F.R. Part 106 (1992). This letter is in response
 to your request.

 In your request, you described several policies and practices at Lee College as
 consistent with the tenets of the religious organization that controls the College.
 These policies would violate certain sections of the regulation implementing Title IX
 (copy enclosed) absent a religious exemption. You supplied information in your
 request that establishes that the College is controlled by a religious organization
 and that tenets followed by this organization conflict with specific sections of the
 Title IX regulation.  Therefore, I am granting Lee College an exemption to those
 sections of the Title IX regulation specified in your request letter.

The exemption is limited to the extent that compliance with the Title IX regulation
conflicts with the religious tenets followed by Lee College. Lee College is hereby
exempted from the requirements of the following sections of the Title IX
regulation: 34 C.F.R. §§ 106.21(c), 106.31, 106.34, 106.36, 106.37, 106.38,
106.39, 106.40, 106.51, 106.52, 106.53, 106.55, 106.57, 106.59, and,
106.60. The basis for our decision to grant this exemption is discussed in detail
below.

Your letter indicates that the College is controlled by the Church of God, a
Protestant evangelical denomination whose basic tenets come directly from the
Holy Bible, as interpreted generally by the Church of God. The Church of God
fosters the College and selects the College's board of directors. In addition, a
substantial number of the College's students are in training to become ministers in
the Church of God. This relationship between the Church of God and the College




0EXHIBIT K
        Our mission   is 10 ensure equal access    lo education   and to promote educational   excellence   throughout   the Nation.   6
      Case 6:21-cv-00474-AA       Document 50-10    Filed 08/06/21   Page 7 of 8



Page 2 - Dr. Charles Paul Conn

adequately establishes that Lee College is controlled by a religious organization
as is required for consideration for exemption under 34 C.F.R. § 106.12 of the
Title IX implementing regulation.

In your letter, you indicate that there are certain biblical tenets that the College
uses as its standard of faith and practice which are directly related to issues such
as human sexuality, cohabitation, the institution of marriage, and other subjects of
a moral character or dimension. The institution practices the following tenets:

      1.     Of particular relevance and significance is the institution's role in
             encouraging those intending to marry and become parents to adhere
             to the College's religious tenets regarding the Christian view of the
             sanctity of marriage and the importance of family life. Based on these
             principles, the College is granted by this letter exemption the following
             Sections of 34 C.F.R.:

                    § 106.40            Marital or parental status
                    § 106.51            Employment

      2.     In keeping with the College's religfous beliefs, some positions of
             employment within the institution may be restricted on the basis of
             gender. Based on these principles, the College is granted by this letter
             exemption from the following Sections of 34 C.F.R.:

                    § 106.52            Employment criteria
                    § 106.53            Recruitment
                    § 106.55            Job classification and structure
                    § 106.57            Marital or parental status
                    § 106.59            Advertising

      3.     The College provides an education to a significant number of students
             who are training for the ministry. The College may provide different
             scholarship assistance and academic and professional counseling to
             ministerial students on the basis of gender. The College may deem it
             necessary to minister in unique and different ways to men and women
             in encouraging and preparing them to fulfill their roles as committed
             Christian citizens. The College is therefore granted by this letter
             exemption from the following Sections of 34 C.F. R.:

                    § 106.21(c)         Admission; prohibitions relating to
                    § 106.31            Education programs and activities
                    § 106.34            Access to course offerings
                    § 106.36            Counseling and use of appraisal and
                                         counseling materials




EXHIBIT K                                                                           7
      Case 6:21-cv-00474-AA      Document 50-10      Filed 08/06/21   Page 8 of 8



Page 3 - Dr. Charles Paul Conn

                    §   106.37          Financial assistance
                    § 106.38            Employment assistance to students

This letter should not be construed to grant exemption to any section of the
Title IX regulation not specifically mentioned. If OCR receives a complaint on
these issues against the College, we are obligated to determine initially whether
the allegations fall within the exemptions granted. Also, in the unlikely event that
a complaint alleges that the practices followed by the College are not based on the
religious tenets of the controlling organization, OCR is obligated to contact the
controlling organization to verify those tenets. If the organization provides an
interpretation of tenets that has a different practical impact than that described by
the College, or if the organization denies that it controls the College, this
exemption will be rescinded.

I hope this letter responds fully to your request.   If you have any questions, please
do not hesitate to contact me.

                                    Sincerely,



                                    Susan Bowers
                                    Acting Director,
                                    Policy, Enforcement, and
                                      Program Service
                                    Office for Civil Rights

Enclosure




EXHIBIT K                                                                           8
